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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC., §
                                                       §
                   Plaintiff,                          §
                                                       §
v.                                                     §
                                                       §
UNIVERSITY OF TEXAS AT AUSTIN;                         §
JAMES B. MILLIKEN, Chancellor of the                   §
University of Texas System in his Official Capacity;   §
STEVEN LESLIE, Executive Vice Chancellor               §
for Academic Affairs of the University of Texas System §
in his Official Capacity; DANIEL H.                    §
SHARPHORN, Vice Chancellor and                         §
General Counsel of the University of Texas             §             1:20-CV-763-RP
System in his Official Capacity;                       §
JAY HARTZELL, President of the                         §
University of Texas at Austin in his                   §
Official Capacity; BOARD OF REGENTS                    §
OF THE UNIVERSITY OF TEXAS                             §
SYSTEM; DAVID J. BECK, CHRISTINA                       §
MELTON CRAIN, KEVIN P. ELTIFE, R.                      §
STEVEN HICKS, JODIE LEE JILES,                         §
JANIECE LONGORIA, NOLAN PEREZ,                         §
KELCY L. WARREN, and JAMES C.                          §
“RAD” WEAVER, as Members of the Board                  §
of Regents in Their Official Capacities;               §
DANIEL JAFFE, Interim Executive Vice                   §
President and Provost; RACHELLE                        §
HERNANDEZ, Senior Vice Provost for                     §
Enrollment Management and Student                      §
Success; and MIGUEL WASIELEWSKI,                       §
Executive Director for Office of Admissions,           §
                                                       §
                   Defendants.                         §

                                         FINAL JUDGMENT

        On this date, the Court issued an order granting in part Defendants’ motion for summary

judgment, (Dkt. 45), and dismissing Plaintiff Students for Fair Admissions’ claims. As nothing

remains to resolve, the Court renders Final Judgment pursuant to Federal Rule of Civil Procedure

58.
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Accordingly, IT IS ORDERED that the case is CLOSED.

IT IS ORDERED that each party bear its own costs.

SIGNED on July 26, 2021.




                                  ROBERT PITMAN
                                  UNITED STATES DISTRICT JUDGE
